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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF WASHINGTON

AT SEATTLE
TAYLOR CHEAIRS
No.
Plaintiff,
Vv. COMPLAINT FOR DAMAGES FOR

USE OF EXCESSIVE FORCE AND
VIOLATIONS OF CONSTITUTIONAL
CITY OF SEATTLE (and its officers, RIGHTS

employees and agents), SEATTLE POLICE
DEPARTMENT (and its officers, employees JURY DEMAND
and agents), and JOHN DOES 1-10
(unidentified members of the Seattle Police
Department)

Defendants.

 

 

 

I, INTRODUCTION
1.1 During the year-2000 protests in Seattle against systemic racism, Taylor Cheairs
was severely injured and traumatized by the SPD’s reckless, indiscriminate and illegal violence
against him when he was doing nothing more than standing on a sidewalk. Mr. Cheairs was
peacefully standing on a Seattle sidewalk when an unknown member of the SPD shot him
directly in the penis/scrotum/groin area with an exploding flash bang grenade. Mr. Cheairs

captured this incident on digital video. The video (together with a second video of the scene)

COMPLAINT FOR BREACH OF I CARLSON LEGAL

CONTRACT 600 First Ave., Suite LLO6
, Seattle, WA 98104
(206) 899-4948

 

 
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shows with absolute clarity that Mr. Cheairs had taken no action whatsoever to justify a violent
assault on him by the SPD. Mr. Cheairs was severely injured and required hospital treatment for
his injuries. This was a gruesome, painful, and highly traumatic experience.

I. PARTIES

2.1 Plaintiff Taylor Cheairs is a United States citizen and a resident of the City of
Seattle in King County, Washington.

2.2 Defendant City of Seattle is a municipal corporation organized under the laws of
the State of Washington. The City of Seattle operates the Seattle Police Department.

2.3 The Seattle Police Department (“SPD”) is the municipal police force operating
within the City of Seattle.

2.4 John Does 1-10 are individual officers employed by the Seattle Police
Department who were directly involved in the incident giving rise to this Complaint. These
individual officers have yet to be identified through discovery.

I. JURISDICTION AND VENUE

3.1 The Court has subject matter jurisdiction over this case under 28 U.S.C. § 1331
because this action presents federal questions and seeks to redress the deprivation of rights
under the First and Fourth Amendments to the U.S Constitution and pursuant to 42 U.S.C. §
1983,

3.2 Venue is proper in this District under 28 U.S.C. § 1391(b)(2) because the events
giving rise to the claims took place in the Western District of Washington.

IV. FACTUAL ALLEGATIONS
4.] The SPDs assault on Mr. Cheairs took place against the backdrop of the year-

2000 protests in Seattle against systemic racism, which occurred in the aftermath of the killing

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of George Floyd on May 25, 2020. As has been well documented, the City of Seattle and the
SPD responded to these protests using a campaign of excessive force against members of the
public. This excessive force included the indiscriminate use of so-called “less lethal” military
style ordinance by the SPD against peaceful protesters, including tear gas, OC spray, “blast
balls,” flash-bang grenades, and rubber bullets. Mr. Cheairs was but one unfortunate victim of
this systematic campaign of excessive force featuring military ordinance being used by the SPD
against Seattle protesters.

4.2 The background of the SPDs systematic use of excessive force against protesters
is well summarized in a federal complaint filed by the Perkins Coie LLP law firm (working with
the ACLU), on behalf of various Washington citizens and the Black Lives Matter-King County
organization. Rather than repeat this history and background, a copy of the Complaint from
matter 2:20-cv-00887 RAJ (Western District of Washington, filed on June 9, 2020) is attached
as an appendix to this Complaint. It is not intended that the current defendants be compelled to
formally answer the allegations contained in the appendix, as they have already done so in that
pending matter. This appendix is included as a demonstrative for background reference only.

4.3 Mr. Cheairs is a 33 year old Seattle citizen. He has lived in Seattle since 1998.
He works as a construction contractor, running his own licensed small business. By any
measure, he is a fine and upstanding member of the community.

4.4 On or around the night of June 7, 2020, like everyone else Mr. Cheairs was
aware of the ongoing protests in Seattle. While following social media and the news about the
protests, Mr. Cheairs had grown alarmed by the indiscriminate violence of the SPD, led and

encouraged by Seattle leadership including Mayor Jenny Durkan, towards the protesters. Mr.

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Cheairs therefore decided to go “see for himself” what was going on. He viewed himself as a
citizen journalist in his decision to go and view the protests first hand.

4.5. A video shot by Mr. Cheairs during the events in questions shows clearly what
happened. Mr, Cheairs was present at a Capitol Hill intersection (1 1" and Pine) where, for some
reason, the SPD had massed troops deployed in what appears to be fully militarized riot gear.
The crowd at that location was peaceful and was not engaged in violence towards the SPD
troops. The SPD began broadcasting a series of threatening messages to the crowd in an
apparent attempt to force them to move to a different location.

4.6 At the same time, and with no apparent provocation, the massed SPD troops
began shooting a large amount of militarized ordinance directly into the gathered crowd of
citizens. The weapons fired by the SPD included chemical weapons such as tear gas, which was
fired in significant amounts directly into the crowd. The SPD also indiscriminately fired a large
number of “flash bang” grenades directly into the crowd, shooting numerous citizens with these
powerful flaming projectiles.

4.7 This indiscriminate violence by the SPD continued on and on. The video shows
what can only be described as an organized and militarized attack by the SPD against a crowd
of peacefully protesting citizens.

4.8 Mr. Cheairs never advanced towards the mass of SPD troops. He did not throw
anything towards the massed troops. He never left the main group of citizens gathered at the
intersection. He never shouted anything towards the massed SPD troops. He merely stood there,
on the sidewalk, peacefully filming what was going on.

4.9 Then, with no provocation, one of the SPD troops -- as yet unidentified -- fired a

flash bang grenade directly at Mr. Cheairs. The video clearly shows this grenade bouncing in

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(206) 899-4948

 

 
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front of Mr. Cheairs and then striking him directly in the groin area. Mr. Cheairs rapidly moved
backwards as the pain of his injuries began to set in. Again, this is all captured on video.

4.10 It quickly became clear to Mr. Cheairs that he had been severely injured by this
SPD shooting. His pants were blasted apart and burned in the groin area. He realized that he was
bleeding from the groin. The pain was intense. Therefore, Mr. Cheairs was compelled to travel
to the emergency room at Swedish Medical Center on Capitol Hill. There, he received
emergency treatment for his injuries.

4.11 Photographs taken at the hospital show the scope of Mr. Cheairs’ injuries, and
the condition of his clothing. Although in some photographs Mr. Cheairs covered his penis in
the interests of privacy and modesty, his penis was also injured, similarly to his surrounding
injuries. These photographs are difficult to look at. Mr. Cheairs does possess photographs of his
uncovered private area as well, depicting the full scope of these injuries. These photographs
were not produced as part of the plaintiff's Tort Claim submission to the city, but they can be
produced in this case with an appropriate protective order.

4.12 The photographs and the videos mentioned above were provided to the City of
Seattle with Mr. Cheairs’ tort claim submission, submitted on March 26, 2021. The City’s
response to this submission constituted a single e-mail. The plaintiff has fully satisfied the
requirements of Washington’s municipal tort claim statute, RCW 4.96.020 ef seq.

4.13. Mr. Cheairs’ injuries slowly healed, but he was in severe pain and discomfort for
a long period of time. His injuries negatively impacted his ability to work in his physically
demanding job. The emotional distress from this incident was severe. Being shot and severely

injured in the penis, scrotum and groin area is a highly upsetting injury for a person to suffer.

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Mr. Cheairs continues to have symptoms of PTSD resulting from this incident. He has suffered
sleep disturbances and other symptoms of emotional trauma.

4.14 There is no legal defense to justify the SPD’s shooting of Mr. Cheairs. The
SPD’s militarized attacks on protesters have already been held to be wrongful in a court of law.
Indeed, on June 12, 2020, just days after this incident, a federal judge in Seattle issued a
Temporary Restraining Order prohibiting the SPD from using “less lethal” crowd control
ordinance such as “flash bang grenades” as a tool of crowd control. Later, the SPD was held in
contempt of court for violating that federal court injunction.

4.15 Indeed, on the very day that Mr. Cheairs was later injured by an SPD-fired flash
bang grenade, Mayor Jenny Durkan acknowledged that the SPD was misusing flash bang
grenades and other “less lethal” ordinance against the public. On June 7, 2020 she reportedly
said: “SPD’s response needed to be better measured. While the accountability system will
review all of the facts, the response seem too quick to escalate. Too quick to deploy of flash
bangs, pepper spray and deployment of the National Guard. While officers have been working
long hours under difficult conditions, de-escalation should be the number one priority for the
department — and the deployment of flash bangs before using every tool to deescalate — that is
what we have to do to reflect the commitment of SPD.”

V. CAUSES OF ACTION — NOTICE PLEADING

5.1 Plaintiff brings his claims under 42 U.S.C. § 1983, which provides that any
person who, under color of law, deprives another of any rights, privileges or immunities secured
by the Constitution and laws of the United States shall be liable to the injured party.

5.2 The defendants acted under color of law.

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5.3 Defendants violated the plaintiffs right to be free from the use of unnecessary
and excessive force as guaranteed under the Fourth Amendment to the U.S. Constitution.

5.4 By their conduct the defendants deprived the plaintiff of rights and privileges
guaranteed under the First Amendment to the U.S. Constitution.

5.5 The plaintiff suffered compensable damages as a result of the conduct by the

defendants.

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5.6 The defendants’ conduct reflected the deliberate indifference to the plaintiffs

various rights as guaranteed by the U.S. Constitution.

VI =PRAYER FOR RELIEF

Plaintiff hereby prays for and requests the following relief from this Court:

1,

2.

For a ruling that defendants are liable to the plaintiff pursuant to 42 U.S.C. § 1983;
For an award of compensable damages;

For an award of punitive damages;

For an award of attorney’s fees and costs pursuant to 42 U.S.C. § 1983 or as
otherwise authorized by applicable law;

For a trial by jury of all issues so triable;

For an award of other damages or relief as supported by the law and the evidence

and as the Court deems just and equitable.

October 1, 2021

Respectfully submitted,

/s/
Jason Moore, WSBA No. 41324

 

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Paradigm Law
Jason@paradigmlawseattle.com

 

(425) 999-7562

 

 

Attorneys for Plaintiff Taylor Cheairs

COMPLAINT FOR BREACH OF 8g CARLSON LEGAL
CONTRACT 600 First Ave., Suite LL06
Seattle, WA 98104
(206) 899-4948

 

 
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APPENDIX

 
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THE HONORABLE

UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF WASHINGTON

AT SEATTLE

BLACK LIVES MATTER SEATTLE- No. 2:20-cv-887
KING COUNTY, ABIE EKENEZAR,
SHARON SAKAMOTO, MURACO COMPLAINT
KYASHNA-TOCHA, ALEXANDER
WOLDEAB, NATHALIE GRAHAM, JURY DEMAND
AND ALEXANDRA CHEN,

Plaintiffs,

V.

CITY OF SEATTLE,

Defendant.

 

 

 

 

Plaintiffs Black Lives Matter Seattle-King County, Abie Ekenezar, Sharon Sakamoto,
Muraco Kyashna-tocha, Alexander Woldeab, Nathalie Graham, and Alexandra Chen submit this
Complaint against Defendant City of Seattle and allege as follows:!

1. INTRODUCTION

I. This case is about the policy, practice, and custom of the City of Seattle (the

“City”) to allow the Seattle Police Department (“SPD”) to deploy unnecessary violence against

peaceful demonstrators who are speaking out against discriminatory police brutality.

 

' The articles, pictures, videos, and other online sources cited in this Complaint are best
accessed by copying and pasting the cited links into a web browser.

_ Perkins Coie LLP
COMPLAINT (No. ) ~1 1201 Third Avenue, Suite 4900

Seattle, WA 98101-3099
Phone: 206.359.8000
148463513.5 Fax: 206.359.9000

 

 
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2. Notably, Seattle Mayor Jenny Durkan and SPD Chief Carmen Best have
“apologized for instances in which they said officers may have failed to deescalate tense
moments, used disproportionate force against demonstrators and deployed less-than-lethal
weapons too quickly.”* Plaintiffs seek injunctive relief because their apologies have not
prevented and will not prevent the City’s ongoing violation of plaintiffs’ constitutional rights.

3, On May 25, 2020, George Floyd was murdered in Minneapolis, Minnesota by the
police. Mr. Floyd, a Black man, was accused of a non-violent offense. During his arrest, Mr.
Floyd fell to the ground, handcuffed and restrained. Minutes later, for no discernible reason, a
police officer placed his knee—and the weight of his body—on Mr. Floyd’s neck as Mr. Floyd
lay pinned to the ground.

4. For nearly nine excruciating minutes, the officer pressed his knee into Mr. Floyd’s
neck as Mr. Floyd struggled to breathe and pleaded for both mercy and his mother. Rather than
allow Mr. Floyd to breathe, other officers held his legs or stood by, watching as Mr. Floyd began
to die. Among Mr. Floyd’s last words were, “please, please, please, | can’t breathe.”

5. Mr. Floyd died at the scene, a victim of excessive use of force by the police.

6. Mr. Floyd was not the first victim of such force. His final words echo those
spoken by Eric Garner in 2014, before he died at the hands of a New York police officer who put
him in a chokehold during an arrest for a non-violent offense: “I can’t breathe.” Like Mr. Floyd,
Mr. Garner struggled to breathe as police officers at the scene watched him die.

7. More recently, Breonna Taylor, a Black woman, was shot eight times and killed
in March 2020 by three plainclothes Louisville police officers who entered her home in the
middle of the night to execute a no-knock warrant.

8. The words “I can’t breathe” have become a rallying cry for those seeking racial

justice and an end to discriminatory police practices.

 

* Man Shot on Capitol Hill After Gunman Drives Car into George Floyd Protest, Seattle
Times (June 7, 2020), https://www.seattletimes.com/seattle-news/crime/man-shot-after-gunman-
drives-car-into-capitol-hill-protesters/.

COMPLAINT (No. ) —? Perkins Coie LLP
1201 Third Avenue, Suite 4900

Seattle, WA 98101-3099
Phone: 206.359.8000
1484635135 Fax: 206.359.9000

 

 
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9. Despite a global pandemic, groups of demonstrators throughout the country and
the world, including in Seattle, have gathered to protest the systemic injustices perpetrated by
law enforcement against Black people and other people of color.

10. In response to these protests, the SPD has exercised an overwhelming and
unconstitutional use of force to discourage these protesters from exercising their constitutional
rights. On an almost nightly basis, the SPD has indiscriminately used excessive force against
protesters, legal observers, journalists, and medical personnel. For example, SPD has repeatedly
sprayed crowds of protesters with tear gas and other chemical irritants—including as recently as
Monday, June 8, just days after the City pledged a 30-day moratorium on the use of tear gas.

Il. The City of Seattle has its own history of excessive force used by its police
department against people of color. Some of the incidents of excessive force led the City to
acknowledge some of the problems after the Department of Justice investigated the City and
concluded that reasonable cause existed to believe that SPD engages in a pattern or practice of
using unnecessary or excessive force in violation of the Fourth Amendment to the United States
Constitution and 42 U.S.C. § 141413

12. The purpose and effect of this excessive force described in Paragraph 10 has been
to restrict, frustrate, and deter protesters from exercising their rights under the First Amendment
to the United States Constitution to peacefully assemble, petition for redress of grievances,
exercise freedom of speech, and exercise freedom of the press—and the Fourth Amendment to
be free from unwarranted seizures by the government.

13. Plaintiffs have been, and want to continue to be, part of the protest movement to
protect black lives. They want to participate in demonstrations against police brutality in Seattle

without being exposed to the less-lethal weapons regularly deployed by the SPD against

 

> The Settlement Agreement and Consent Decree and other supporting documents can be
found here: https://www.seattle.gov/police/about-us/professional-standards-bureau/settlement-
agreement-history.

COMPLAINT (No. )-3 Perkins Coie LLP
1201 Third Avenue, Suite 4900

Seattle, WA 98101-3099
Phone: 206.359.8000
148463513.5 Fax: 206.359.9000

 

 
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protesters as a method of crowd control. Plaintiffs bring this action to restrain the City of Seattle
from continuing to respond to peaceful protest with unconstitutional and indiscriminate force.
A. SPD’s “Less-Lethal” Weapons and “Crowd Control” Arsenal

14. The weapons SPD uses for “crowd control” purposes during demonstrations,
sometimes referred to as “non-lethal” weapons, are more appropriately called “less-lethal”
weapons, as many government entities and human rights NGOs have recognized.*

15. The “less-lethal” weapons the SPD deployed at protests this month include
chemical irritants, batons, kinetic impact projectiles, and weapons intended to stun with light and
sound.

16. | The chemical irritants released on protesters by the SPD this month include tear
gas (“CS gas”) and oleoresin capsicum spray (“OC” or “pepper” spray).

17. SPD has deployed chemical irritants both by targeting specific protesters with
handheld devices and by launching canisters of chemical irritants into a crowd from a distance,
releasing the irritants indiscriminately in every direction.

18, SPD has also hit protesters with batons and shot kinetic impact projectiles such as
rubber bullets at protesters.

19, In addition, SPD has deployed flash-bang grenades and blast balls against
protesters. When these weapons detonate, they generate loud noise and bright light. Blast balls
also release chemical irritants.

20. ‘Tear gas can be lethal. It is known that high-dose exposure in an enclosed space
can “lead to the development of airway edema, non-cardiogenic pulmonary edema, and possibly

respiratory arrest.”? Though this kind of exposure in an enclosed space is rare, more generally,

 

“U.S. Dep’t of Just., Office of the Inspector General, Evaluation and Inspections
Division, Review of the Department of Justice’s Use of Less-Lethal Weapons (May 2009),
https: Hloig, Jjustice.gov/reports/plus/e0903/final.pdf; United Nations Guidance on Less Lethal
Weapons in Law Enforcement (2020),
https: /Iww. ohchr.org/Documents/HRBodies/CCPR/LLW_Guidance.pdf.

° Toxic Syndrome Description, Riot Control Poisoning, Centers for Disease Control and
Prevention, https://emergency.cde.gov/agent/riotcontrol/agentpoisoning.asp.

COMPLAINT (No. ) —4 Perkins Coie LLP
1201 Third Avenue, Suite 4900

Seattle, WA 98101-3099
Phone: 206.359.8000
148463513.5 Fax: 206.359.9000

 

 
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tear gas exposure can have more severe effects on those with asthma such that it can trigger a
fatal asthma attack.° The death on May 30 of a 22-year-old protester in Ohio who had asthma
and who passed away after being sprayed with tear gas is currently being investigated.’

21. Pepper spray can be lethal. Between 1990 and 1995, at least 61 in-custody deaths
followed police use of pepper spray on suspects.® A 1994 study of 63 in-custody fatalities
concluded that pepper spray was a contributing cause of death in 2 cases of people with asthma.’
Though this study found that positional asphyxia and other causes contributed to the deaths of
61, the study cautioned that the precise role of pepper spray in the deaths could not be
determined, '°

22. Even when not directly lethal, exposure to tear gas has been shown to increase the
risk of developing acute respiratory illnesses. A study conducted in 2012 of 6,723 U.S. Army
recruits demonstrated that recruits who were exposed to tear gas had a significantly higher
chance of getting an acute respiratory illness such as influenza, bronchitis, and pneumonia than
those recruits who weren’t exposed.,!!

B. Heightened Risks of COVID-19 Transmission from Less-Lethal Weapons
23. People who have been exposed to chemical irritants are more vulnerable to

COVID-19, an acute respiratory illness.

 

° How Tear Gas and Pepper Spray Affect the Body, Healthline,
https://www.healthline.com/health-news/how-tear-gas-and-pepper-spray-affect-the-body#What-
to-know-about-tear-gas.

’ Jim Letizia, Columbus Investigating Claims Protester Died After Being Exposed to
Tear Gas, https://www.wcbe.org/post/columbus-investigating-claims-protestor-died-after-being-
exposed-tear-gas.

* Mark I. Pinsky, If Pepper Spray Isn’t Lethal, Why All the Deaths?, L.A. Times (June
18, 1995), https://www.latimes.com/archives/la-xpm-1995-06-18-mn-14572-story.html.

” Office of Justice Programs, U.S. Dep’t of Just., The Effectiveness and Safety of Pepper
Spray (Apr. 2003), https://www.ncjrs.gov/pdffiles | /nij/195739.pdf.

Id. at 11.

'! Joseph J. Hout, et al., o-Chlorobenzylidene Malonotrile (CS Riot Control Agent)
Associated Acute Respiratory Illnesses in a U.S. Army Basic Combat Training Cohort, 179
Military Medicine 7:793 (2014),
https://academic.oup.com/milmed/article/179/7/793/4259353#101 149356.

COMPLAINT (No. ) —5 Perkins Coie LLP
1201 Third Avenue, Suite 4900

Seattle, WA 98101-3099
Phone: 206.359.8000
1484635135 Fax: 206.359.9000

 

 
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24, When people with COVID-19 are exposed to chemical irritants during a
demonstration, this exposure may also increase the likelihood that COVID-19 will spread to
other people because of the immediate effect both tear gas and pepper spray have on those who
are exposed. By design, part of the incapacitating effect of tear gas and pepper spray is that both
can cause lung irritation that makes you cough, spit, and/or vomit.'* In addition, people exposed
to tear gas or pepper spray suffer from eye irritation that leads them to rub their eyes. Coughing,
spitting, vomiting, and rubbing eyes can all lead to the spread of viruses.

25. A petition signed by over 2,000 health professionals—led by doctors at the
University of Washington—expresses precisely these concerns.'? Infectious disease physician
Rachel Bender Ignacio states, “Exposure to chemical irritants certainly makes the airways more
susceptible to infection .... If people are coughing from any of these chemical irritants, then
that increases their risk of spreading [COVID-19] to fellow protesters and to law enforcement as
well.”"4

26. Indeed, Dr. Jeffrey Duchin, the head of King County Public Health Department,

has publicly denounced the use of “respiratory irritants” like tear gas as a crowd control method

because of the “potential to increase COVID-19 spread.”>

 

" Facts About Riot Control Agents Interim Document, Centers for Disease Control and
Prevention, https://emergency.cdc.gov/agent/riotcontrol/factsheet.asp.

'3 Open letter advocating for an anti-racist public health response to demonstrations
against systemic injustice occurring during the COVID-19 pandemic, available at
https://drive.google.com/file/d/1Jyfn4Wd2i6bRil 2ePghMHtX3ys1b7K | A/view (last visited June
7, 2020). See also John Ryan, Quit the Tear Gas, Doctors Tell Cops. It Might Exacerbate the
Pandemic, KUOW (June 4, 2020), https://www.kuow.org/stories/disease-specialists-to-cops-
stop-the-tear-gas.

'4 John Ryan, Quit the Tear Gas, Doctors Tell Cops. It Might Exacerbate the Pandemic,
KUOW (June 4, 2020), https://www.kuow.org/stories/disease-specialists-to-cops-stop-the-tear-
gas.

'S Alex Bartick, Mayor Durkan Announces Temporary Ban on the Use of Tear Gas by
SPD at Demonstrations, KOMO News (June 5, 2020) (quoting Dr. Jeffrey Duchin of Public
Health, Seattle and King County).

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1201 Third Avenue, Suite 4900

Seattle, WA 98101-3099
Phone: 206.359.8000
1484635135 Fax: 206.359.9000

 

 
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27. The use of other less-lethal weapons that cause panic and injury also create the
potential for increased COVID-19 spread by compressing large groups of people as protesters
and bystanders attempt to flee from the use of force.

28. Seeking medical care for injuries caused by police presents another opportunity
for COVID-19 spread, as injured people and people delivering medical care come into close
physical contact with one another.

II. PARTIES

29. Each of the Plaintiffs wishes to participate in demonstrations against police
brutality without being subject to less-lethal force by the SPD. Without an injunction restraining
the City from using less-lethal force to contro! protesters, each of these Plaintiffs will be forced
to choose between exercising their constitutional rights and avoiding exposure to dangerous less-
lethal weapons.

30. Plaintiff Black Lives Matter Seattle-King County is a nonprofit organization
operating in Seattle, Washington.

31. Plaintiff Abie Ekenezar is a Washington resident who attended protests every day
from May 29 through June 6, 2020, either in Seattle or Tacoma.

32. Plaintiff Sharon Sakamoto is a Washington resident who would like to attend the
Seattle protests but has not done so out of fear from the negative health effects of tear gas and
other chemical agents the SPD has been deploying.

33. Plaintiff Muraco Kyashna-tocha is a Washington resident who attended protests in
Seattle every day from May 29 through June 6, 2020.

34, Plaintiff Alexander Woldeab is a Washington resident who attended protests in
Seattle every day from May 30 through June 6, 2020, except for June 4.

35. Plaintiff Alexandra Chen is a Washington resident who attended protests in

Seattle on May 30, 2020, and June | through June 6, 2020.

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1201 Third Avenue, Suite 4900

Seattle, WA 98101-3099
Phone: 206.359.8000
1484635135 Fax: 206.359.9000

 

 
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36. Defendant the City of Seattle (“the City”) is a municipality incorporated in the
State of Washington.
Ii. JURISDICTION AND VENUE
37. The Court has subject matter jurisdiction over this case under 28 U.S.C. § 1331
because this action presents federal questions and seeks to redress the deprivation of rights under
the First and Fourth Amendment to the U.S. Constitution and pursuant to 42 U.S.C. § 1983.
38. Venue is proper in this District under 28 U.S.C. § 1391(e)(1) because the events

giving rise to the claims took place in the Western District of Washington.

IV. FACTUAL ALLEGATIONS

A. Protesters Demonstrating against Police Brutality Are Met with Brutality by the
SPD

39. After the killing of George Floyd, demonstrators began to gather around the City
of Seattle on a daily and nightly basis to protest police brutality against Black Americans.

40. With limited exceptions, these protesters have been overwhelmingly peaceful.
But nearly every night, City law enforcement tactics to deter these protests have escalated in
severity. The SPD arrested protesters and used force on many others who were not arrested,
SPD has hit protesters with batons and shot them with rubber bullets, released chemical irritants,
and thrown “blast balls” and flash-bang grenades into crowds, often with little or no warning.

41. SPD’s actions have been consistent with the directive of a State trooper deployed
with the SPD: don’t “kill” protesters but “hit them hard.’”!®

42. Simply put, in response to protests against police brutality, the police chose to

engage in brutality.

 

16 Washington State Patrol apologizes for officer’s ‘Don’t kill them, but hit them
hard’ instruction regarding Seattle protesters, Seattle Times (June 3, 2020),
https://www.seattletimes.com/seattle-news/washington-state-patrol-apologizes-after-officer-tells-
his-team-dont-kill-them-but-hit-them-hard-in-reference-to-seattle-protesters/ (with embedded
video).

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1201 Third Avenue, Suite 4900

Seattle, WA 98101-3099
Phone: 206.359.8000
148463513.5 Fax: 206.359.9000

 

 
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B. Timeline of Excessive Police Force at Protests

43, On Friday, May 29, the first day of protests in Seattle, SPD officers in riot gear
responded to protesters by deploying chemical irritants and flash-bang devices to disperse
crowds and arresting others.!”

44. On Saturday, May 30, SPD officers continued their use of chemical irritants and
flash-bang devices on protesters and engaged in other violent tactics, including pepper-spraying
a child and punching a man as he was being held on the ground.'®

45. The violence by SPD continued as the weekend wore on. On Sunday, May 31,
the SPD again deployed flash-bang devices, OC spray, and blast balls against protesters and
militarized the streets of downtown Seattle.!?

A6, In response to police brutality during the first weekend of protests (May 29-31),

the Seattle Office of Police Accountability received about 12,000 individual complaints of

 

M7 Sparked by death of George Floyd, Seattle protestors clash with police, Seattle
Times (May 29, 2020), https://www.seattletimes.com/seattle-news/protesters-break-windows-
clash-with-police-in-downtown-seattle/.

Seattle Protest Updates: The city reacts to the death of George Floyd, Seattle

Times (May 30, 2020), https://www.seattletimes.com/seattle-news/protest-updates-as-the-
country-reacts-to-the-death-of-george-floyd-follow-the-latest-developments-in-seattle-and-
elsewhere/ (SPD “faced questions for its tactics, including the use of flash bangs as it dispersed
people Saturday, and for a videotaped incident Friday night of at least one officer punching a
man as he was held on the ground”); Seattle mayor, police face questions over response to
George Floyd protests, downtown turmoil, Seattle Times (May 30, 2020),
https://www.seattletimes.com/seattle-news/politics/seattle-mayor-police-face-questions-over-
response-to-george-floyd-protests-downtown-turmoil/ (“Durkan and Police Chief Carmen Best
faced questions over the city’s response to the turmoil, as some nonviolent protesters described
escalations by officers early in the afternoon” including multiple reports that “officers would
throw a flash bang or tear gas just randomly into the crowd” and that officers without warning
shot pepper spray into the faces of protesters, including a young girl),

| Lynda V. Mapes, Seattle demonstrations vent anguish at death of George Floyd
and more, for a ‘grieving nation’ Seattle Times (May 31, 2020),
https://www.seattletimes.com/seattle-news/seattle-demonstrations-vent-anguish-at-death-of-
george-floyd-and-more-for-a-grieving-nation/ (“There were a couple of tense moments, with
police setting off flash bangs and pepper spray on Fourth Avenue, but the protests were mostly
peaceful as of Sunday evening”); see also Seattle area protest updates: City reacts to George
Floyd killing, Bellevue imposes curfew amid protests, Seattle Times (May 31, 2020),
https://www.seattletimes.com/seattle-news/seattle-protest-updates-on-day-2-of-curfew-the-city-
reacts-to-the-death-of-george-floyd/.

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1201 Third Avenue, Suite 4900

Seattle, WA 98101-3099
Phone: 206.359.8000
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abusive conduct by SPD. For all of 2019, the Office of Police Accountability received just 928
complaints.”°
47. Among the ten most common incidents reported in these complaints are “[p]epper

90, 66

spraying a young girl”; “[p]epper spraying peaceful protesters”; and “[t]he use of flash-bangs,
including causing a significant thumb injury.”?!

48. On Monday, June 1, SPD unleashed tear gas, OC spray, and blast balls on largely
peaceful protesters in Capitol Hill after failing to give dispersal orders to allow for protesters to
leave the area.”

49, Video shows police escalating the confrontation by grabbing a protester’s
umbrella just before deploying chemical irritants into the crowd.”

50. On Tuesday, June 2, SPD followed the same playbook, again deploying tear gas,
OC spray, blast balls, flash-bang grenades, and rubber bullets, causing protesters to flee in fear.“
51. The SPD’s tactics have been so excessive that the City’s own director for the

Office of Civil Rights, Mariko Lockhart, wrote an open letter stating that she had “heard from

other City leadership and employees that they fear for their personal safety, not because of other

 

20 See Seattle Office of Police Accountability, Office of Police Accountability processing
12,000 complaints after weekend demonstrations (June 1, 2020),
http://www.seattle.gov/Documents/Departments/OPA/PressReleases/06-01-20 OPA-Press-
Release-F ollowing-Demonstrations.pdf.

Id.

2 Seattle area protests: Police declare a riot as demonstrators gather for fourth day to
call for police accountability, Seattle Times (June 1, 2020),
https://www.seattletimes.com/seattle-news/george-floyd-protests-continue-in-seattle-area-
demonstrators-expected-to-gather-for-fourth-day-to-call-for-racial-justice/ (“videos of the
officers spraying the crowd and deploying flash bangs quickly spread on social media; many of
those who shared them said the footage showed the police were escalating the confrontation”).

3 See id. (“[a] police officer at the front of the crowd can be seen grabbing a protester’s
umbrella just before other officers deploy pepper spray into the crowd’); Declaration of Omari
Salisbury (“Salisbury Decl.) { 3 June I video).

** See Salisbury Decl. {| 4 (June 2 video starting at 0:04:00); Seattle Police Department
Blotter, Timelines of Police Responses to Demonstrations (June 7, 2020 1:51 p.m.),
https://spdblotter.seattle.gov/2020/06/07/timelines-of-police-responses-to-demonstrations/
(stating that SPD used pepper spray, blast balls, flash-bangs, and tear gas at 11:36 p.m.).

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1201 Third Avenue, Suite 4900

Seattle, WA 98101-3099
Phone: 206.359.8000
1484635135 Fax: 206.359.9000

 

 
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protesters but because of the police.”*> Ms. Lockhart went on to call for the City to immediately
““Tclease the use of flash grenades, rubber bullets, and tear gas against community protesters.”
52. Those excessive tactics have also led to condemnation by many City, County, and
State elected officials. In fact, on June 7, over two dozen leaders signed an open letter
condemning “‘the police tactics used in daily protests,” and made clear they are “concerned that
the response of the Seattle Police Department (SPD) is escalating the conflict in the streets of

Seattle, particularly in Capitol Hill and in communities of color, with their inappropriate use of

force.”*®

53. This letter urges the City “to change [its] tactics,” and makes clear that “continued
violence by the police will only polarize this necessary conversation in unproductive ways,” and
“to end the damage that SPD has caused by overreaction to mostly peaceful protests.””” The
letter goes on to make the following observations about the harmful effects of SPD’s use of force
against protesters:

This harms the relationship between law enforcement and the
community, harms our city, and harms law enforcement officers
and their families in the form of emotional trauma. Physical
violence is being perpetrated against members of our community
by SPD. Emotional trauma and extraordinary racial aggression is
being inflicted. Constitutional rights are at risk. Police tactics are
exacerbating health risks amidst a devastating respiratory
pandemic. The public health crisis of law enforcement anti-black
violence is so extreme as to have eclipsed the previous disease that
gripped our city.

It is well-documented that peaceful protests are being targeted by
law enforcement and turned into violent conflict. No amount of
secondary illegal activity has happened that warrants this response.
We will have time in the future to discuss necessary reforms for
future such conflicts, but for now, the violence must stop.
Deploying police in riot gear to form a wall of officers positioned

 

> Letter from M. Lockhart to Seattle Office of Civil Rights (June 5, 2020), available at
https://www.documentcloud.org/documents/693 8 155-Lockhart-Letter.html.

*6 Chase Burns, Washington Electeds to Mayor Durkan and Chief Best: Direct SPD to
“Change Their Tactics Immediately,” The Stranger (June 7, 2020), available at
thestranger.com/slog/2020/06/07/43862996/seattle-electeds-to-mayor-durkan-and-chief-best-
direct-spd-to-change-their-tactics-immediately (last viewed June 7, 2020).

Id.

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Phone: 206.359.8000
148463513.5 Fax: 206.359.9000

 

 
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against peaceful protesters is not conducive to de-escalation and
healing; a moratorium on tear gas that is then replaced with pepper
spray is not de-escalation.”®

54. The letter is signed by Seattle City Councilmembers Lorena Gonzalez, Teresa
Mosqueda, Tammy Morales, and Lisa Herbold, and they are joined by King County
Councilmembers Girmay Zahilay, Joe McDermott, and Rod Dembowski and several state
legislators.

55. A majority of the Seattle City Council has come out against SPD’s tactics and use
of force against protesters.

56. The backlash from the public and from local leaders ts no surprise because it is
apparent from the extensive available video footage of the protests that the SPD is not using less-
lethal weapons out of a need to defend themselves or others against imminent harm, or even to
prevent significant property damage. Instead, the City is using these tools and tactics to suppress
demonstrations against the police.

57. On Saturday, June 6, 2020, police repeatedly deployed flash-bang grenades and
pepper spray canisters against protesters, including a protester in a wheelchair.”

58. The SPD’s attacks on those documenting the protests is not limited to protesters.
In fact, accredited journalists have also reported being gassed or subjected to flash-bang devices
by the SPD simply for being present and documenting the protest for the public. For instance, on
June 1, and NBC News correspondent, Jo Ling Kent, was live on air when she was hit by a flash-
bang grenade fired by the SPD.*° That same reporter recalled that “[s]everal people were hit

with rubber bullets in the arm, in the back and in the head.’”!

 

28 Td.
29 See Salisbury Decl. 5 (June 6 video).
30 A video of this incident is available online. See Maura Hohman, NBC News’ Jo Ling
Kent hit by flash-bang grenade at Seattle protest live on air, Today.com (June 2, 2020),
available at bttps://www.today.com/news/nbc-news-jo-ling-kent-hit-flash-bang-grenade-seattle-
tl 83067 (last visited June 7, 2020).
Id.

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1201 Third Avenue, Suite 4900

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Phone: 206.359.8000
148463513.5 Fax: 206.359.9000

 

 
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59. On June 6, a KOMO news reporter was hit in the leg with a flash-bang as he was
reporting from the front of a protest in Capitol Hill. According to his account, before the police
began using “flash bangs to disperse the crowd,” the “[p]rotesters hadn’t thrown or done
anything it seems to provoke this [police reaction].”*?

60. Eyewitnesses have reported that SPD has also appeared to target medics on site to
provide medical assistance to injured protesters.

61. On June 6, one medic was wearing a shirt that clearly and objectively identified
him as a medical professional on the scene to assist protesters with medical issues. This medic
was repeatedly targeted with blast balls and OC spray, preventing him from administering
medical assistance to those affected by the SPD’s unconstitutional use of this weapon.

C. SPD’s Claimed Voluntary Ban on Tear Gas

62. On Friday, June 5, 2020, Seattle Mayor Jenny Durkan and SPD Chief Carmen
Best jointly announced that SPD would stop using tear gas on protesters for the next 30 days.
The City made clear that this “temporary ban only applies to tear gas” and that SPD would
continue to use “flash-bang grenades, pepper spray and other crowd-control tools and tactics.”*4

63. On Saturday, June 6, the SPD responded to a peaceful protest in the Seattle
neighborhood of Capitol Hill by unleashing violence to disperse protesters exercising their
constitutional rights. The SPD did so by throwing blast balls and canisters of OC spray at the
crowd to indiscriminately gas the entire crowd.

64. Various videos of the incident show that the police began throwing blast balls and

gas into the crowd not because of any imminent threat to their public safety, but because they

wanted a large crowd to collectively move back five feet. Setting aside the logistical

 

* Cole Miller (KOMO News), Twitter (June 6, 2020 7:41 p.m.),
https://twitter.com/ColeMillerT V/status/1269459358288494592.

*3 See Lewis Kamb and Daniel Beekman, Seattle mayor, police chief agree to ban use of
tear gas on protesters amid ongoing demonstrations, Seattle Times (June 5, 2020), available at
https://www.seattletimes.com/seattle-news/watchdog-groups-to-seattles-mayor-and-police-chief-

spd-should-stop-using-tear-gas-on-demonstrators/ (last visited June 7, 2020).
34 Td.

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impossibility of having a large crowd move back together five feet, the protesters’ overall delay
or reluctance in moving back did not justify the gratuitous and excessive force that the police
employed. The police faced no threat of physical harm to themselves, others, or property.*°

65. On June 7, Chief Best did not disavow the extreme police violence of June 6,
responding only that SPD would be considering changes to its “footprint,” “format,” and
“posture.”2°

66. On Sunday, June 7, the City broke its own voluntary 30-day ban on tear gas, two
days after announcing it. Sunday night and into the early morning on Monday, June 8, SPD
made heavy use of flash-bang grenades and canisters of tear gas and OC spray to suppress a
demonstration near 11th Avenue and Pine Street.?7
D. The City’s legal Actions Caused and Are Causing Injuries to Plaintiffs

67. The City has all but acknowledged SPD’s use of excessive force against
protesters: on June 4, the City withdrew its motion asking Judge James L. Robart to find SPD in
compliance with its constitutional-policing mandates in a 2012 consent decree with the federal
government.

68. Plaintiffs have suffered and will continue to suffer injury as described below

unless and until SPD’s unlawful conduct is enjoined.

 

35 For videos of this incident, see Chase Burns and Rich Smith, SPD Disperses Crowd
with Blast Balls, “Chemical Agents,” on Eighth Day of Protests Against Police Brutality,
https://www.thestranger.com/slog/2020/06/06/43857405/spd-disperses-crowd-with-blast-balls-
chemical-agents-pepper-spray-on-eight-day-of-protests-against-police-brutality (last visited June
7, 2020).

\ Press Conference with SPD Chief Carmen Best at 1:06, June 7, 2020,
https://www.facebook.com/Q13FOX/videos/252009629404175/.

37 See Salisbury Decl. | 6 (June 7 video, starting at 1:29:00); Seattle Police Department,
Twitter June 7, 2020, 12:18 a.m.), https://twitter.com/SeattlePD/status/126989 1637448019968;
Jemima McEvoy, Seattle Police Use Tear Gas Against Protestors Despite City Ban, Forbes
(June 8, 2020), available at https://www.forbes.com/sites/jemimamcevoy/2020/06/08/seattle-
police-use-tear-gas-against-protestors-despite-city-ban/#79 | c43415b4b.

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1201 Third Avenue, Suite 4900

Seattle, WA 98101-3099
Phone: 206.359.8000
148463513.5 Fax: 206.359.9000

 

 
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69. | Demonstrations protesting police brutality and the killing of Black people in
America are planned to continue this week, including a statewide general strike and silent march
on Friday, June 12.

70. Without an injunction restraining their unconstitutional use of force, SPD will
continue to deploy the same abusive and illegal tactics it has deployed over the last ten days,
threatening the constitutional rights and physical safety of Plaintiffs and others who have been,
and will continue to be, harmed by SPD’s protest response tactics.

1. Black Lives Matter Seattle-King County

71. Black Lives Matter Seattle-King County (“BLMSKC”) is a grassroots nonprofit
organization focused on the empowerment and liberation of Black people and other people of
color through advocacy and direct action.

72. Until recently, BLMSKC has not called on its members to join Seattle protests
because of the heightened risk to communities of color from COVID-19. But many of BLMSKC
issued a “Protestor Safety Guide” to assist those who wished to participate in protests
notwithstanding the potential health risks.*®

73. | BLMSKC’s safety guide cautions protesters to “[p]repare for pepper spray, mace,
and tear gas.”?”? BLMSKC’s leaders are aware that the use of chemical agents like tear gas and
OC spray may increase susceptibility to, and spread of, COVID-19. This concern about the
heightened danger that the use of chemical agents presented to protesters was one of the reasons
that had led its leaders to not call on its members to join Seattle protests to this point.

74. |BLMSKC has called for a general strike and silent march in Seattle on Friday,

June 12."°

 

38 Black Lives Seattle, Protestor Safety Guide, https://blacklivesseattle.org/protest-
safety- guide/ .

? Black Lives Seattle, Protestor Safety Guide, https://blacklivesseattle.org/protest-
safety-guide/.

40 E.g., Rich Smith, Black Lives Matter Seattle Calls for a Statewide Silent March
Friday, The Stranger (June 6, 2020),

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1201 Third Avenue, Suite 4900

Seattle, WA 98101-3099
Phone: 206.359.8000
148463513.5 Fax: 206.359.9000

 

 
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75. | BLMSKC aims to reduce the threat of COVID-19 transmission by encouraging
protesters to remain silent. BLMSKC hopes that police will be less likely to deploy weapons
against marchers who are exercising their right to express themselves symbolically rather than
vocally.

76. | BLMSKC’s leaders and members nonetheless fear that law enforcement will meet
future protests with continued violence.

77. The time and effort BLMSKC has expended due to the City’s conduct has
reduced its capacity to plan events and programming consistent with its mission, curtailing the
organization’s capacity to fulfill its mission of effecting community change through peaceful
demonstrations.

78. | Two of BLM’s board members participated in Seattle protests this month when
SPD used OC spray, and they experienced the negative effects of it. BLM has called on SPD to
stop its use of all chemical agents in response to protesters.

2. Abie Ekenezar

79. Abie Ekenezar is a veteran of the United States Army and works at the
Department of Veterans Affairs.

80. | Ms. Ekenezar has asthma and a spinal disability.

81. On May 30 and June 6, Ms. Ekenezar joined the protests in Seattle against police
brutality.

82. Her spinal disability required her at times to use a knee scooter while protesting,
which limits her mobility.

83. During the protest on the evening of May 30, Ms. Ekenezar was peacefully

protesting—alongside other peaceful protesters—when SPD officers unleashed a chemical agent

 

https://www.thestranger.com/slog/2020/06/06/43 857 1 90/black-lives-matter-seattle-calls-for-a-
statewide-silent-march-friday.

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1201 Third Avenue, Suite 4900

Seattle, WA 98101-3099
Phone: 206.359.8000
148463513.5 Fax: 206.359.9000

 

 
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on the crowd, including on Ms. Ekenezar. The dispersal of the chemical agent was not localized
and went far beyond the immediate area where it was deployed.

84. During her time serving in the military, Ms. Ekenezar participated in tear-gas
drills and is familiar with the effects of tear gas. Based on that experience, she believes that the
chemical agent the SPD used on her and other protesters on May 30 was tear gas.

85. The tear gas stung Ms. Ekenezar’s eyes and triggered her asthma.

86. SPD officers also deployed flash-bang grenades in Ms. Ekenezar’s presence at the
Westlake protest on May 30. Ms. Ekenezar also saw an SPD officer use mace on a young girl at
the protest.

87. On June 6, Ms. Ekenezar participated in the Capitol Hill protest against police
brutality.

88. Although protesters were being peaceful, SPD started asking protesters to move
back from the police barricade. Because the crowd was large, people could not move back.

89. The chemical agent again stung Ms. Ekenezar’s eyes and caused them to water. It
also caused Ms. Ekenezar to develop a cough that lasted at least through the following day.

90. Ms. Ekenezar plans to attend other protests scheduled in Seattle this week, and
she is worried not only about again being subjected to chemical agents deployed by the SPD or
others acting at its direction but also about being unable to escape the police brutality because of
her limited mobility.

3. Sharon Sakamoto

91, Sharon Sakamoto is a Japanese American woman who survived internment as a
child during World War IL.

92. Because of her history as a survivor of internment and deep racial hostility, Ms.
Sakamoto is deeply committed to advancing civil rights and racial justice.

93. Ms. Sakamoto is a retired attorney who provided community services and legal

aid primarily to the underserved Japanese American community.

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1201 Third Avenue, Suite 4900

Seattle, WA 98101-3099
Phone: 206.359.8000
148463513.5 Fax: 206.359.9000

 

 
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94. Ms. Sakamoto had planned to participate in the recent Seattle protests—even in
light of the COVID-19 public-health crisis—but decided not to once she learned of SPD’s use of
chemical irritants.

95. Ms. Sakamoto was frightened away from joining the protests because of the
SPD’s use of violence against the protesters in Seattle.

96. If SPD stopped its use of tear gas, OC spray, blast balls, and flash-bang grenades,
Ms. Sakamoto would attend a protest.

4. Alexander Woldeab

97. Alexander Woldeab is a videographer, graphic designer, and Seattle resident.

98. | Mr. Woldeab has joined the protests against police brutality in Seattle every day
from May 30 through June 6.

99. On May 30, Mr. Woldeab participated in the protest at Westlake in downtown
Seattle. He and his partner arrived at the protest at about 3:00 p.m. and joined the peaceful
protest organized by Not This Time and Andre Taylor, whose brother Che Taylor was killed by
SPD officers in 2016.

100. At about 3:45 p.m., Mr. Woldeab heard loud sounds that he understood to be
flash-bang grenades.

101. A few minutes later, as Mr. Woldeab and other protesters were walking with their
hands up and peacefully chanting “hands up, don’t shoot,” the SPD deployed tear gas.

102. Mr. Woldeab experienced burning eyes and shortness of breath from the tear gas.

103. On June 1, Mr. Woldeab and his partner again joined one of the protests in
Seattle, this time in the Capitol Hill neighborhood.

104. At about 9:00 p.m. that evening, as Mr. Woldeab and his partner were returning to
the area near SPD’s police barricade, they were immediately met with flash-bang grenades and

tear gas. Mr. Woldeab received no warning that SPD was going to deploy those weapons.

COMPLAINT (No. )— 18 Perkins Coie LLP
1201 Third Avenue, Suite 4900

Seattle, WA 98101-3099
Phone: 206.359.8000
148463513.5 Fax: 206.359.9000

 

 
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105. The tear gas caused Mr. Woldeab to temporarily lose his sight and feel like he
was suffocating. Shortly after the incident, Mr. Woldeab and his partner were able to make their
way to an aid table where a civil medic doused their eyes with milk and water.

106. On June 2, Mr. Woldeab again attended the protest in the Capitol Hill
neighborhood. That evening, he witnessed the SPD again use flash-bang grenades and tear gas
against protesters.

107. Despite being subjected to chemical agents and flash-bang grenades by the SPD
and experiencing significant anxiety as a result, Mr. Woldeab plans to join in the upcoming
Seattle protests about police brutality.

5. Muraco Kyashna-tocha

108. Muraco Kyashna-tocha is a 60-year-old woman who participated in the protests
every day from May 30 through June 6.

109. On June 1, Ms. Kyashna-tocha attended a protest in the Capitol Hill neighborhood
in which she went to the front of the police barricade created by law enforcement. From her
vantage point, the protests appeared peaceful and non-violent.

110. Atabout 9:00 p.m. that evening, SPD officers began using OC spray on the
crowd, including Ms. Kyashna-tocha. Police also deployed flash-bang grenades and tear gas.

111. Ms. Kyashna-tocha did not hear the officers issue any verbal warnings that they
planned to deploy chemical irritants.

112. The chemical irritants affected Ms. Kyashna-tocha’s sight and required her to
seek medical attention in an area of the protest informally designated for medical assistance. She
had to immediately remove her mask that she was wearing to protect against COVID-19, as it
was soaked in OC spray. She had to take a two-hour shower when she returned home that night

to get the irritants off her body.

COMPLAINT (No. ) — 19 Perkins Coie LLP
1201 Third Avenue, Suite 4900

Seattle, WA 98101-3099
Phone: 206.359.8000
148463513.5 Fax: 206.359.9000

 

 
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113. Ms. Kyashna-tocha has participated in over 100 protests, but she has never
participated in a protest in which the police deployed chemical irritants without first warning the
crowd.

114. Ms. Kyashna-tocha plans to protest police brutality again in Seattle.

6. Alexandra Chen

115. Alexandra Chen is a first-year student at Seattle University School of Law and
lives in the Capitol Hill neighborhood of Seattle.

116. Ms. Chen attended a protest in downtown Seattle in the afternoon on Saturday,
May 30 and was subject to SPD’s use of tear gas.

117. Ms. Chen was marching along with other protesters when the group stopped in
front of the SPD headquarters at the intersection of Fifth Avenue and Cherry Street.

118. Although Ms. Chen estimates approximately five to ten of the group of hundreds
was throwing objects like water bottles at the police line in front of SPD headquarters, the rest of
the protesters were peaceful and calm.

119. SPD deployed flash-bang grenades at the group, causing protesters to panic and
flee in fear. Ms. Chen slipped twice while trying to flee the grenades.

120. About 30 seconds later, the SPD deployed tear gas. The tear gas caused her eyes
and skin to burn, and she had trouble seeing and breathing. The gas became trapped under the
mask Ms. Chen was wearing to protect against exposure to COVID-19, causing even greater
irritation to her skin. Ms. Chen located an off-duty medic who flushed her eyes with saline
solution.

121. Ms. Chen experienced some form of skin irritation for several days.

122. Ms. Chen did not hear the SPD give any dispersal order or warning that they

would be deploying weapons against the crowd.

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1201 Third Avenue, Suite 4900

Seattle, WA 98101-3099
Phone: 206.359.8000
148463513.5 Fax: 206.359.9000

 

 
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123. On June 1, Ms. Chen joined the protest in the Capitol Hill neighborhood.
Because she feared being gassed again by the SPD, she did not participate at the front of the
protest near the police barricade.

124, The SPD again deployed flash-bang grenades and tear gas. Ms. Chen again
experienced effects from the tear gas, including burning eyes and skin irritation.

125. After she heard that the SPD again deployed chemical agents and flash-bang
grenades on protesters the night of June 6, she headed to the protest scene to stand in solidarity
with other protesters. She arrived about 15 minutes after the SPD released a chemical agent and
saw protesters coughing and in great discomfort.

126. Although Ms. Chen’s anxiety about protesting has increased because of the SPD’s
actions, Ms. Chen plans to continue joining the protests against police brutality in Seattle.

7. Nathalie Graham

127. Nathalie Graham is a journalist with The Stranger.

128. On May 30, Ms. Graham “saw a group of protesters peacefully kneeling in the
intersection as a speaker addressed them,” but the police used so much tear gas up the street that
these protesters who “chad been completely peaceful,” were “also impacted by the tear gas.”
Declaration of Nathalie Graham (“Graham Decl.”), § 4. Ms. Graham wanted to continue
reporting, but the gas was so powerful she had to leave the scene. Jd. That same day, she
observed law enforcement throw a flash-bang grenade into a crowd without warning and with no
provocation. /d. at ] 6.

129. Ms. Graham was “shocked and frightened by the consistently unprovoked,
aggressive use of force by law enforcement officers on multiple different groups of peaceful
protesters.” Jd. at § 8. She “saw no evidence that any of these severe crowd-dispersal tactics
were warranted, and there was never any warning before they were deployed.” She had to stop
reporting on the scene because she feared for her safety-—not because of the protesters, but

because of the police tactics being deployed against the protesters. Jd. at 99. “There was tear

COMPLAINT (No. ) —?] Perkins Coie LLP
1201 Third Avenue, Suite 4900

Seattle, WA 98101-3099
Phone: 206.359.8000
148463513. Fax: 206.359.9000

 

 
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gas everywhere, flash-bang grenades exploding in the street, and 1 was anxious that the police
would further escalate their tactics.” Jd.

130. A similar incident occurred on June 2, 2020, when Ms. Graham was trying to
report on the unfolding scene at 11th and Pine. The sheer amount of gas that the SPD deployed
against the peaceful protesters forced her to retreat to The Stranger’s office and close the
windows. “The ground below was so immersed in gas that [she] couldn’t see the road. Some of
it began to seep in to [her] office, despite the closed windows, and [she] began to cough.”

131. The City’s actions have had a profound impact on Ms. Graham’s role as a
journalist. “Witnessing the aggressive, indiscriminate deployment of chemical agents and flash-
bang grenades by police at these protests has made me reconsider how I approach my
assignments. There is a new element of trepidation, anxiety, and fear to my experience of being
a journalist. | am determined to assert my rights and do my job, so I will continue reporting —
but I would not be surprised if other journalists felt that their ability report from the ground was
significantly impaired by these law enforcement tactics. They are deeply disturbing.”

E. The City’s Policy, Practice, and Custom

132. The violations of Plaintiffs’ First and Fourth Amendment rights are a direct result
of the City’s policy, practice, and custom of authorizing SPD to use less-lethal weapons to
control and suppress protests.

133. Mayor Jenny Durkan and Police Chief Carmen Best are final decision-makers
with respect to authorization of the use of force against protesters.

134. SPD policymakers including Mayor Durkan and Chief Best have acted with
deliberate indifference to the constitutional rights of protesters and would-be protesters by
authorizing, both explicitly and implicitly, the use of less-lethal force against protesters who do
not pose any safety threat; by failing to properly train, supervise, and discipline SPD officers
regarding appropriate use of force against protesters; and by failing to rectify the SPD’s

unconstitutional custom of using less-lethal force to control and suppress demonstrations.

COMPLAINT (No. ) — 22 Perkins Coie LLP
1201 Third Avenue, Suite 4900

Seattle, WA 98101-3099
Phone: 206.359.8000
1484635135 Fax: 206.359.9000

 

 
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135. After the killing of George Floyd, both Mayor Durkan and Chief Best have
publicly authorized the use of less-lethal force for “crowd control” at protests.

136. Both Mayor Durkan and Chief Best have received ample notice that the SPD is
using less-lethal force against protesters to control and suppress demonstrations in the absence of
any imminent threat to safety, including 12,000 complaints about the SPD in one weekend,
condemnation from City Council members, and widely publicized videos and firsthand accounts
circulated through the local, state, and international press.

137. Despite receiving ample notice that SPD officers were using less-lethal force to
control and suppress demonstrations in the absence of any immediate threat to safety, Mayor
Durkan and Chief Best failed to take action sufficient to remedy the ongoing violations of
protesters’ constitutional rights by SPD officers, including by failing to train, supervise, or
discipline SPD officers or issue corrective policies to prevent further violations.

138. They have continued to authorize the use of less-lethal force to control
demonstrations even while acknowledging that the majority of protesters have been peaceful.

On May 31, for example, Mayor Durkan noted that “[f]or most of [May 30], people came and
they were peaceful as they expressed their grief, as they built community, as they expressed their
anger and demanded greater justice.”

139. In addition, Mayor Durkan and Chief Best, in apologizing for the conduct of SPD
officers, as much as admitted that officers “used disproportionate force against demonstrators

and deployed less-than-lethal weapons too quickly.’”*!

V. FIRST CAUSE OF ACTION
Violation of the First Amendment
140. The City’s policy, practice, and custom of using less-lethal weapons to control

and suppress demonstrations has deprived Plaintiffs of their rights under the First Amendment to

 

“| Man Shot on Capitol Hill After Gunman Drives Car into George Floyd Protest, Seattle
Times (June 7, 2020), https://www.seattletimes.com/seattle-news/crime/man-shot-after-gunman-
drives-car-into-capitol-hill-protesters/.

COMPLAINT (No. } — 23 Perkins Coie LLP
1201 Third Avenue, Suite 4900

Seattle, WA 98101-3099
Phone: 206.359.8000
148463513.5 Fax: 206.359.9000

 

 
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the United States Constitution, and the chilling effect is stopping Plaintiffs from exercising the
First Amendment rights which they had otherwise planned to exercise in the immediate future.

141. The SPD’s use of less-lethal force against protesters can reasonably be expected
to chill a reasonable person from engaging in activity protected by the First Amendment.

142. Indeed, the SPD’s use of less-lethal force against protesters has had the purpose
and the effect of suppressing large, continuous protests.

143. The City’s policy, practice, and custom of using less-lethal weapons to control
and suppress demonstrations is not a reasonable regulation of the time, place, or manner of
Plaintiffs’ and the Plaintiff Class’s First Amendment protected activity.

144. Upon information and belief, the City’s authorization of the use of less-lethal
force against protesters was motivated by the viewpoint being expressed by the demonstrators.

145. The City has acted with deliberate indifference to the First Amendment rights of
Plaintiffs and the Plaintiff Class.

VI. SECOND CAUSE OF ACTION
Violation of the Fourth Amendment

146. The use of less-lethal weapons to control and suppress demonstrations in the
absence of an immediate safety threat constitutes excessive force in violation of the Fourth
Amendment, and the facts here show that the use of excessive force is stopping Plaintiffs from
exercising their constitutional rights they otherwise planned to exercise.

147. The City’s policy, practice, and custom of allowing the SPD to deploy less-lethal
weapons to control and suppress demonstrations in the absence of an immediate safety threat
reflects deliberate indifference to protesters’ rights under the Fourth Amendment to be free from
excessive force.

VU. PRAYER FOR RELIEF
148. WHEREFORE, Plaintiffs pray for the following relief:

COMPLAINT (No. ) — 24 Perkins Coie LLP
1201 Third Avenue, Suite 4900

Seattle, WA 98101-3099
Phone: 206.359.8000
148463513.5 Fax: 206.359.9000

 

 
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. An order temporarily restraining the City and all agencies under its direction and

from which it has requested assistance with regard to the protests from further
violating the First and Fourth Amendment rights of Plaintiffs by using less-lethal

weapons to control and suppress demonstrations;

. An order preliminarily enjoining the City and all agencies under its direction and

from which it has requested assistance with regard to the protests from further
violating the First and Fourth Amendment rights of Plaintiffs by using less-lethal

weapons to control and suppress demonstrations;

. An order permanently enjoining the City and all agencies under its direction and

from which it has requested assistance with regard to the protests from further
violating the First and Fourth Amendment rights of Plaintiffs by using less-lethal

weapons to control and suppress demonstrations;

. A declaration that the City has violated the First and Fourth Amendment rights of

Plaintiffs by using less-lethal weapons to control and suppress demonstrations;

. For judgment against the City for Plaintiffs’ costs of suit, including Plaintiffs’

reasonable attorney fees;

. For such other relief as the Court may deem just and proper.

COMPLAINT (No. ) — 25 Perkins Coie LLP

148463513.5

1201 Third Avenue, Suite 4900
Seattle, WA 98101-3099
Phone: 206.359.8000
Fax: 206.359.9000

 

 
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DATED: June 9, 2020

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By: s/ David A. Perez
David A. Perez, WSBA No. 43959

s/ Joseph M. McMillan
Joseph M. McMillan, WSBA No. 26527

s/ Mallory Gitt Webster
Mallory Gitt Webster, WSBA No. 50025

s/ Carolyn Gilbert

Carolyn Gilbert, WSBA No. 51285
s/ Nitika Arora

Nitika Arora, WSBA No. 54084

s/ Heath Hyatt
Heath Hyatt, WSBA No. 54141

s/ Paige L. Whidbee
Paige L. Whidbee, WSBA No. 55072

Perkins Coie LLP

1201 Third Avenue, Suite 4900
Seattle, WA 98101-3099

Telephone: 206.359.8000

Fax: 206.359.9000

E-mail: DPerez@perkinscoie.com
E-mail: JMcMillan@perkinscoie.com
E-mail: MWebster@perkinscoie.com
E-mail: CGilbert@perkinscoie.com
E-mail: NArora@perkinscoie.com
E-mail: HHyatt@perkinscoie.com
E-mail: PWhidbee@perkinscoie.com

By: s/ Molly Tack-Hooper
Molly Tack-Hooper, WSBA No. 56356

s/ Nancy L. Talner

Nancy L. Talner, WSBA No. 11196
s/ Lisa Nowlin

Lisa Nowlin, WSBA No. 51512

s/ Breanne Schuster

Breanne Schuster, WSBA No. 49993

s/ John Midgley
John Midgley, WSBA No. 6511

American Civil Liberties Union of
Washington Foundation
P.O. Box 2728

Seattle, WA 98111

Telephone: (206) 624-2184
E-mail: mtackhooper@aclu-wa.org
E-mail: talner@aclu-wa.org
E-mail: Inowlin@aclu-wa.org
E-mail: bschuster@aclu-wa.org

Perkins Coie LLP
1201 Third Avenue, Suite 4900
Seattle, WA 98101-3099
Phone: 206.359.8000
Fax: 206.359.9000

 

 
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148463513.5

E-mail: jmidgley@aclu-wa.org

By: s/ Robert S. Chang
Robert S. Chang, WSBA No. 44083

Fred T. Korematsu Center for Law and
Equality

Ronald A. Peterson Law Clinic

Seattle University School of Law

1112 E. Columbia Street

Seattle, WA 98122

Telephone: 206.398.4025

Fax: 206.398.4077

E-mail: changro@seattleu.edu

Attorneys for Plaintiffs Black Lives Matter
Seattle-King County, Abie Ekenezar, Sharon
Sakamoto, Muraco Kyashna-tocha, Alexander
Woldeab, Nathalie Graham, and Alexandra
Chen

Perkins Coie LLP
1201 Third Avenue, Suite 4900
Seattle, WA 98101-3099
Phone: 206.359.8000
Fax: 206.359.9000

 

 
